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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                  No. 20 CR 708
        v.
                                                  Judge Elaine E. Bucklo
 DIEGO VARGAS

               GOVERNMENT’S SENTENCING MEMORANDUM

       The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, hereby respectfully

submits its Sentencing Memorandum and requests the Court enter the mandatory

minimum sentence of 60 months.

I.     PROCEDURAL HISTORY

       On October 1, 2020, an indictment was returned by the grand jury which

charged the defendant with one count of maliciously attempting to damage and

destroy, by means of an explosive device, a building used in an activity affecting

interstate and foreign commerce, namely, a restaurant, in violation of Title 18, United

States Code, Section 844(i) (20 CR 708).

       In addition, on July 9 2020, an indictment was returned by a separate grand

jury which charged the defendant with conspiring with others to commit an offense

against the United States, namely, to take and carry away, with the intent to steal

money exceeding $1,000 in value belonging to, and in the care, custody, control,

management, and possession of First Midwest Bank, namely, United States currency

stored in the First Midwest Bank ATM located at 2 South Broadway, Aurora, Illinois,
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in violation of Title 18, United States Code, Section 2113(b), in violation of Title 18,

United States Code, Section 371 (20 CR 331).

        On June 10, 2021, pursuant to a written plea agreement, the defendant pled

guilty to the sole count of the indictment in 20 CR 708 and agreed to the sole count

in 20 CR 331 as a stipulated offense. Sentencing is currently scheduled for September

2, 2021.

II.     FACTUAL BACKGROUND

        20 CR 708

        The Egg Harbor restaurant is located in Naperville, Illinois and uses a building

that involves an activity affecting interstate commerce. The restaurant served food

and beverages which were transported into the State of Illinois from outside of the

State of Illinois. On June 1, 2020, the defendant Diego Vargas picked up a street pole

with a sign and threw the pole through the window of the Egg Harbor restaurant.

The defendant, with the intent to damage the restaurant, then threw a lit explosive

device through the window causing two explosions.

        20 CR 331

           On May 31, 2020, a group of individuals, including the defendant, attempted

to steal U.S. currency from the Automated Teller Machine (“ATM”) in the drive-

through of the First Midwest Bank, at 2 South Broadway, Aurora, Illinois. At

approximately 9:38 p.m., the defendant, along with co-defendants Fermin Ocampo-

Tellez, Michael Gomez and a group of individuals, gathered in front of the ATM

machine. The group worked together to attempt to break into the ATM and steal the

currency stored inside. The defendant and others pulled apart a street sign, and the
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defendant used the pole from the street sign to both hit the ATM and attempt to pry

it open, in order to take the money inside. The defendant, and others, also tried to

move the ATM from where it was anchored in the bank’s drive-through, and he

gripped the ATM and used his body weight to try to move or tip the ATM. He did this

several times, in combination with other individuals, including his codefendants, who

were also trying to break into the ATM with the intention of stealing the money stored

within it.

III.     SENTENCING CALCULATIONS

         The government concurs with the sentencing guidelines calculation set forth

in the Pre-Sentence Report. PSR at ¶ 37. Pursuant to Guideline § 5G1.1(b), the

guideline sentence is the minimum term of imprisonment required by Title 18, United

States Code, Section 844(i), namely, a term of imprisonment of not less than five

years. PSR ¶¶ 104 and 105.

IV.      THE 3553(A) FACTORS SUPPORT A SENTENCE OF 60 MONTHS

         As part of the sentencing process, the Court is to consider the factors set forth

in 18 U.S.C. § 3553(a) and impose a sentence that is sufficient, but not more than

necessary, to achieve the goals of sentencing. In particular, Section 3553(a) requires

the Court to consider, among other factors: (1) the nature and circumstances of the

offense; (2) the history and characteristics of the defendant; (3) the need to reflect the

seriousness of the offense, to promote respect for the law, and to provide just

punishment; (4) to afford adequate deterrence; and (5) to avoid unwarranted

disparities among defendants with similar records who have been found guilty of

similar conduct.
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             A.    Nature and Circumstances of the Offenses

      In the early summer of 2020, the country erupted in (mostly) peaceful protests

against the killing of George Floyd by police officers in Minneapolis. There were,

however, incidents of rioting, looting and civil unrest caused by some protesters who

sought to take advantage of the situation. Diego Vargas was one of those people.

      On the evening of May 31, 2020, an unknown individual approached an ATM

in Aurora and started to hit the ATM with a baseball bat in an obvious attempt to

steal the currency inside the machine. Within moments a crowd, which included

Vargas, formed and joined the batter in his quest. The incident was captured and

recorded on the ATM’s camera and by a police drone flying overhead. The videos show

the crowd collectively attempting to push the ATM off its’ moorings, hitting the ATM

with a hand truck, and using wooden poles from a street sign (broken up by Vargas

and others) to beat the machine. Although the crowd was unsuccessful in stealing the

currency, the damage to the ATM was significant, resulting in over a $10,000 loss to

First Midwest Bank.

      The next evening, June 1, 2020, Vargas traveled to Naperville where he could

be seen in videos walking the streets drinking alcohol and screaming at the police.

While walking in the streets, Vargas, according to witnesses, picked up a street sign

pole and used it to break the window of the Egg Harbor restaurant. He then lit an

explosive device and threw it into the restaurant, which was captured on video by a

bystander. The device caused two explosions, the second of which was significant.

Fortunately, the restaurant was closed and no one was injured.
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      The Egg Harbor restaurant was not the only destruction Vargas caused that

evening. He also damaged glass doors and windows of a Naperville furniture store

and stole jewelry from a Pandora store. The DuPage County States Attorney’s Office

recently charged Vargas for those offenses (21CF1326).

      Vargas’ wanton disregard for commercial property warrants a term of

imprisonment within the sentencing guidelines range.

      B.     The History and Characteristics of the Defendant.

      Defendant is currently 25 years old, was born in Mexico and has no legal status

in the United States. Despite defendant’s relatively young age, defendant has a

significant criminal history and has had multiple encounters with law enforcement

dating back to when he was 16. PSR ¶¶ 41 – 51. Moreover, there are pending charges

in state court against the defendant to include an assault on his (former) girlfriend

that occurred in August 2020. PSR ¶ 53. According to his girlfriend, the defendant

had been physically abusive to her on multiple occasions. PSR ¶ 70.

      Defendant’s prior lawlessness is a significant aggravating factor and support

a sentence within the Guidelines range.

             C.    Need for the Sentence Imposed to Reflect the Seriousness
                   of the Offense, Promote Respect for the Law, Provide Just
                   Punishment, and Afford Adequate Deterrence

      There are several additional aggravating factors the Court should consider in

fashioning the sentence. First, deterrence. The defendant’s prior convictions and

repeated run-ins with police had no impact on deterring him from continuing to

engage in reckless conduct and indicate a significant sentence is required to deter
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him from future criminal activity, as well as to protect the public. A sentence of 60

months will be defendant’s longest sentence yet.

       The mandatory minimum sentence of the 60 months will also reflect the

seriousness of the offense, promote respect for the law, provide just punishment and

afford adequate deterrence. The serious nature of the offenses presents a compelling

need to protect the public. A sentence of 60 months – which is the Guidelines range

- will also assist in ensuring the goals of fair and uniform sentencing. The U.S.

Sentencing Guidelines are designed to lend consistency and fairness to sentencing

and are “the product of careful study based upon extensive empirical evidence derived

from the review of thousands of individual sentencing decisions.” Gall v. United

States, 552 U.S. 38, 46-47 (2007). Thus, a sentence within the guidelines range will

serve to minimize unwarranted disparities between defendant and similarly situated

defendants.

       Moreover, the defendant has a history of disrespect for the law. Not only does

he have a significant record of arrests and convictions, but the nature of some of his

prior offense shows he has an unhealthy contempt for law enforcement officers.

V.     Supervised Release Conditions

       Vargas is an illegal alien and will likely enter deportation proceedings once he

is released from custody. Nonetheless, it is the position of the government that the

sentence include a three year term of supervised release in the event that the

defendant is not deported or is not detained while immigration proceedings are
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pending. To that end, the government agrees with the recommendations for

conditions of supervised release set forth in the PSR.

VI.     Conclusion
        For the reasons set forth above, and in consideration of the factors enumerated

in 18 U.S.C. § 3553(a), the government concurs with the defendant’s recommendation

and respectfully requests that the Court impose a sentence of 60 months, to be

followed by a period of three years of supervised release.



Dated: August 9, 2021                          Respectfully submitted,

                                               JOHN R. LAUSCH, JR.
                                               United States Attorney

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